Case 4:16-cr-40109-KES Document 31 Filed 03/31/17 Page 1 of 10 Page|D #: 51

UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION

 

UNITED STATES OF AMERICA, CR16-40109
Plaintiff, PLEA AGREEMENT
vs.
ANTHONY VINCENT SOZZI,

Defendant.

 

The Defendant, the Defendant’s attorney, and the United States Attorney
for the District of South Dakota hereby submit the following Plea Agreernent to
the United States District Court, which Agreernent was reached pursuant to
discussions between the United States Attorney and the Defendant’s attorney.
The Agreernent is as follows:

A. ACKNOWLEDGMENT AND WAIVER OF RIGHTS AND UNDER-
STANDING OF MAXIMUM PENALTIES: The Defendant agrees that he has
been fully advised of his statutory and constitutional rights herein, and that he
has been informed of the charges and allegations against him and the penalty
therefor, and that he understands same. The Defendant further agrees that he
understands that by entering a plea of guilty as set forth hereafter, he will be
waiving certain statutory and constitutional rights to which he is otherwise

entitled.

Case 4:16-cr-40109-KES Document 31 Filed 03/31/17 Page 2 of 10 Page|D #: 52

B. PLEA AGREEMENT PROCEDURE - NO RIGHT TO WITHDRAW
PLEA IF COURT REJECTS RECOMMENDATION: The United States and the
Defendant agree that this Plea Agreement is presented to the Court pursuant to
Rule ll(c)(l)(B) of the Federal Rules of Criminal Procedure, which authorizes
the United States to agree that it will recommend, or agree not to oppose, the
Defendant’s request that a particular sentence or sentencing range is
appropriate or that a particular provision of the Sentencing Guidelines, or
policy statement, or sentencing factor, does or does not apply. Such
agreements and recommendations are not binding on the Court, and the
Defendant may not withdraw his plea of guilty if the Court rejects them.

C. PLEA OF GUILTY TO CHARGE: The Defendant will plead guilty
to the Indictment filed in this case, which charges the violation of 18 U.S.C.
§§ 922(g)(1), 922(g)(3), and 924(a)(2). The charge carries a maximum sentence
of 10 years in prison, a $250,000 fine, or both, and a period of supervised
release of 3 years. If the Defendant is found by a preponderance of evidence to
have violated a condition of supervised release, he may be incarcerated for an
additional term of up to 2 years on any such revocation. There is a $100
assessment to the victims’ assistance fund.

D. VIOLATION OF TERMS AND CONDITIONS: The Defendant
acknowledges and understands that if he violates the terms of this Plea

Agreement, engages in any further criminal activity, or fails to appear for

[2]

Case 4:16-cr-40109-KES Document 31 Filed 03/31/17 Page 3 of 10 Page|D #: 53

sentencing this Plea Agreement Shall become voidable at the discretion of the
United States and the Defendant will face the following consequences:

(1) All testimony and other information the Defendant has provided at
any time to attorneys, employees, or law enforcement officers of the United
States, to the Court, or to the federal grand jury may and will be used against
him in any prosecution or proceeding

(2) The United States will be entitled to reinstate previously dismissed
charges and/ or pursue additional charges against the Defendant, and to use
any information obtained directly or indirectly from him in those additional
prosecutions.

(3) The United States will be released from any obligations,
agreements, or restrictions imposed upon it under this Plea Agreement.

E. ACCEPTANCE OF RESPONSIBILITY: The United States agrees
that based upon the information known to it at this time, the Defendant is
entitled to a two-level decrease in his offense level pursuant to U.S.S.G.
§ 3E1.1(a), provided no evidence is disclosed in the presentence report which
indicates the Defendant has not demonstrated a recognition and affirmative
acceptance of personal responsibility for his criminal conduct, and further
provided he: (1) complies with the terms of this Plea Agreement; (2) testifies
truthfully during the change of plea hearing; (3) participates truthfully with the
Probation Office in the presentence investigation; (4) does not violate any

conditions of pretrial detention or release after he signs this agreement; and

[3]

 

Case 4:16-cr-40109-KES Document 31 Filed 03/31/17 Page 4 of 10 Page|D #: 54

(5) continues to exhibit conduct consistent with acceptance of responsibility
Both the United States and the Defendant otherwise reserve the right to
present evidence and make argument regarding sentencing

F. TIMELY ACCEPTANCE OF RESPONSIBILITY: The United States
agrees that the Defendant has timely notified authorities of his intention to
enter a plea of guilty thereby permitting the United States and the Court to
allocate their resources efficiently. Therefore, if the offense level determined
prior to the operation of U.S.S.G. § 3E1.1(a) is level 16 or greater and the
Defendant qualifies for a two-level decrease under U.S.S.G. § 3E1.1(a), this
provision shall be treated at the sentencing hearing as a motion pursuant to
U.S.S.G. § 3E1.1(b) to decrease the offense level by one additional level.

G. GOVERNMENT’S RECOMMENDATION REGARDING SENTENCE
- WITHIN THE GUIDELINE RANGE: The Defendant and the United States
understand and agree that the Court will determine the applicable Guideline
range after reviewing the presentence report and considering any evidence or
arguments submitted at the sentencing hearing The United States agrees that
it will recommend that the Court impose a sentence of imprisonment within the
applicable Guideline range. The Defendant understands that any recommend-
ation made by him or the United States is not binding on the Court. The
Defendant further understands that he may not withdraw his plea of guilty if

the Court rejects any recommendation

[41

Case 4:16-cr-40109-KES Document 31 Filed 03/31/17 Page 5 of 10 Page|D #: 55

The United States reserves the right to present evidence and argument as
to what it believes the applicable Guideline range should be and to respond to
any request for a sentence below the applicable Guideline range. For the
purposes of this agreement, the “applicable Guideline range” is the range found
by the Court by reference to the Sentencing Table at U.S.S.G. § 5A based on
the Defendant’s total offense level and criminal history before adjustments, if
any, are made based on a downward departure, an 18 U.S.C. § 3553(€)
sentencing factor, or other variance.

H. SPECIAL ASSESSMENT: The Defendant agrees to remit to the
U.S. Clerk of Court, 400 S. Phillips Ave., Sioux Falls, SD 57104, no later than
two Weeks prior to sentencing a certified or cashier’s check payable to the
“U.S. Clerk of Court” in the amount of $100, in full satisfaction of the Statutory
costs pursuant to 18 U.S.C. § 3013.

I. MONETARY OBLIGATIONS - DEFENDANT’S ONGOING DUTY: If
the Defendant does not have sufficient financial resources to immediately
satisfy the financial obligations imposed upon him at sentencing the
Defendant agrees, if requested by the United States, to promptly execute and
return an executed Authorization to Release Financial Records and
Documents, an executed Authorization to Release Tax Returns and
Attachments and an executed Financial Statement. The Defendant
understands that this is an ongoing duty which continues until such time as

payment is remitted in full. Also the Defendant may be required to furnish the

[5]

Case 4:16-cr-40109-KES Document 31 Filed 03/31/17 Page 6 of 10 Page|D #: 56

requested information, as well as current earnings statements and copies of his
W-ZS even if the request is made after he has been sentenced.

The Defendant agrees to assist the United States in identifying, locating,
returning, and transferring assets for use in payment of any financial
obligations imposed as part of the sentence in this case.

The Defendant also agrees that if he is incarcerated, he will participate in
the Bureau of Prisons’ Inmate Financial Responsibility Program during any
period of incarceration in order to pay any financial obligations ordered by the
Court. The Defendant’s agreement to participate in the Inmate Financial
Responsibility Program does not limit the United States’ right to pursue
collection from other available sources. If there is no period of incarceration
ordered, the Defendant agrees that payment of any financial obligations
ordered by the Court shall be a condition of probation.

J. RESERVING THE RIGHT TO REBUT OR CLARIFY MITIGATION
INFORMATION: The United States reserves the right to rebut or clarify
matters set forth in the presentence investigation report, or raised by the
Defendant in mitigation of his sentence, with evidence and argument.

K. AGREEMENT TO FORFEIT PROPERTY: The Defendant agrees to
forfeit all interest in a Smith 85 Wesson, Model 59, 9mm semi-automatic pistol
bearing serial number A381795 and 12 rounds of 9mm ammunition
(hereinafter referred to as “the property”). The Defendant warrants that he is

the sole owner of all of the property. The Defendant agrees to hold the United

[61

Case 4:16-cr-40109-KES Document 31 Filed 03/31/17 Page 7 of_ 10 Page|D #: 57

States, its agents, and employees harmless from any claims whatsoever in
connection with the seizure or forfeiture of the property.

The Defendant further agrees to waive all interest in the property in any
administrative or judicial forfeiture proceeding, whether criminal or civil, state
or federal. The Defendant agrees to consent to the entry of orders of forfeiture
for the property and waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of
the forfeiture in the judgment. The Defendant acknowledges that he
understands that the forfeiture of the property is part of the sentence that may
be imposed in this case and waives any failure by the Court to advise him of
this, pursuant to Rule 1 1(b)(1)(J), at the time his guilty plea is accepted.

The Defendant further agrees to waive all constitutional and statutory
challenges in any manner (including direct appeal, habeas corpus, or any other
means) to any forfeiture carried out in accordance with this Plea Agreement on
any grounds, including that the forfeiture constitutes an excessive fine or
punishment. The Defendant agrees to take all steps necessary to pass clear
title to the property to the United States, including, but not limited to,
surrender of title, the signing of a consent decree, stipulating to facts regarding
the transfer and basis for the forfeiture, executing deed or title transfers, and

signing any other documents necessary to effectuate such transfers

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Case 4:16-cr-40109-KES Document 31 Filed 03/31/17 Page 8 of 10 Page|D #: 58

L. BASIS FOR PLEA OF GUILTY: The Defendant agrees that the
statement of facts, signed by the parties and incorporated herein by this
reference, provides the basis for his guilty plea in this case, and is a true and
accurate statement of his actions or omissions with regard to the charges to
which he is entering a plea, and that the Court may rely thereon in determining
the basis for his plea of guilty as provided for in this Plea Agreement.

M. WAIVER OF SPEEDY TRIAL: The Defendant agrees to waive any
rights to a speedy trial under either the United States constitution or the
Speedy Trial Act. This waiver is necessary So that the Court will have the
benefit of all relevant information at sentencing

N. PARTIES BOUND: It is further understood and agreed that this
agreement is limited to the United States Attorney’s Office for the District of
South Dakota, and that this agreement cannot and does not bind other federal,
state, or local prosecuting authorities.

O. SCOPE OF AGREEMENT: This agreement shall include any
attachments, exhibits or supplements designated by the parties. lt is further
understood and agreed that no additional promises, agreements, or conditions
have been entered into other than those set forth in this agreement, and this
agreement supersedes any earlier or other understanding or agreement.

P. WAIVER OF DEFENSES AND APPEAL RIGHTS: The Defendant
hereby waives all defenses and his right to appeal any non-jurisdictional

issues. The parties agree that excluded from this waiver is the Defendant’s

[8]

Case 4:16-cr-40109-KES Document 31 Filed 03/31/17 Page 9 of 10 Page|D #: 59

right to appeal any decision by the Court to depart upward pursuant to the
sentencing guidelines as well as the length of his sentence for a determination
of its substantive reasonableness should the Court impose an upward
departure or an upward variance pursuant to 18 U.S.C. § 3553(a).
SUPPLEMENT TO PLEA AGREEMENT

The United States will file a Supplement to Plea Agreement which is
required to be filed in every case in compliance with the Court’s Standing
Order.

RANDOLPH J. SEILER
United States A orney

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Date Joh E'./Hais,k\'/

Ass' tant United States Attorney
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APPROVED:
RANDOLPH J. SEILER
United States Attorney
By:

DENNIS R. HOLMES
Chief, Criminal Division

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Case 4:16-cr-40109-KES Document 31 Filed 03/31/17 Page 10 of 10 Page|D #: 60

    

 

 

 

 

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